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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

    NETLIST, INC.,                                 §
                                                   §
                Plaintiff,                         §
                                                   §
    v.                                             §
                                                            Case No. 2:22-cv-00203-JRG-RSP
                                                   §
    MICRON TECHNOLOGY, INC. et al.,                §
                                                   §
                Defendants.                        §
                                                   §

                                               ORDER

          Before the Court is the Claim Construction Order of Magistrate Judge Payne dated

   October 10, 2023 (Dkt. No. 249). Defendants Micron Semiconductor Products Inc.,

   Micron Technology Texas LLC, and Micron Technology, Inc. (“Micron”) have filed

   Objections to the Order (Dkt. No. 261). Additionally, Plaintiff Netlist, Inc. (“Netlist”) has filed

   Objections to the Order (Dkt. No. 265).

          After considering the reasoning provided in the Order, the underlying claim construction

   briefing, Micron’s Objections, and Netlist’s Objections, the Court agrees with the

   conclusions reached within the Order and finds the arguments within the Objections

   unpersuasive.     Accordingly,     the     Court     OVERRULES           Micron’s      Objections,

   OVERRULES Netlist’s Objections, and ADOPTS Magistrate Judge Payne’s Order.


           So Ordered this
           Jan 17, 2024
